        Case 1:21-cr-00128-RC          Document 354        Filed 09/06/24      Page 1 of 2




                  UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                              Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                        Defendant .

             NOTICE TO THE COURT OF FAILURE TO PRODUCE

       On June 18, 2024, the Court issued Order No. 326 at 38, directing the government to

disclose to me all footage recorded by FBI informant James Ehren Knowles. It has now been

more than two months since the Court issued that order, and the government has not yet made

that production. Since the government’s delay is preventing me from preparing for trial, I am

respectfully informing the Court that if this discovery is not produced by September 18, 2024

(which is three months after the Court’s order), I will be filing a motion for a continuance.

       Respectfully submitted to the Court,

                                                      By: William Pope

                                                         /s/


                                                      William Pope
                                                      Pro Se Officer of the Court
                                                      Topeka, Kansas
     Case 1:21-cr-00128-RC           Document 354        Filed 09/06/24      Page 2 of 2




                                      Certificate of Service
I certify a copy of this was filed electronically for all parties of record on September 6, 2024.
                                                /s/
                                 William Alexander Pope, Pro Se
